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        In December 2023, Entropic filed motions for leave to supplement the
 Second Amended Complaint in both the 1043 Case and the 1049 Case; specifically,
 Entropic wishes to include additional allegations relating to willful infringement. 3
 Entropic also filed two motions for leave to amend the Second Amended
 Complaint in the 1049 Case, to add infringement claims for two additional patents. 4
 The Court referred all four of Entropic’s pending motions to the Special Master for
 a report and recommendation. 5 Comcast objected, 6 Entropic responded to
 Comcast’s objections, 7 and Comcast replied. 8 The Court has considered the
 parties’ positions. For the following reasons, the Court OVERRULES the
 objections to the referral and DENIES Comcast’s Motions to Dismiss Second
 Amended Complaint without prejudice.

 A.        The Referral is Appropriate and Remains in Place

        As an initial matter, Comcast’s objections are not procedurally proper. The
 Order Appointing the Special Master expressly establishes a procedure for
 objecting to the Special Master’s orders and for responding to those objections. 9
 Here, the Special Master has not yet issued any order addressing the referred
 matters, so there is no Special Master order to which Comcast may object.
 Nevertheless, the Court considers Comcast’s objections on the merits and
 OVERRULES them.

       The order appointing the Special Master includes broad language under the
 scope of authority section allowing “[t]he Special Master . . . to preside over . . .
 any other matters referred to the Special Master by the Court.” 10 It also states that

 3
         Entropic’s Mot. to Supplement the Second Amended Complaint [ECF No. 193 in the
 1043 Case; ECF No. 131 in the 1049 Case].
 4
         Entropic’s Mots. to Amend Complaint and Amend the First Amended Complaint against
 Comcast [ECF Nos. 114 & 115 in the 1049 Case].
 5
         Order Referring Mots. to Special Master (the “Referral Order”) [ECF No. 273 in the
 1043 Case; ECF No. 191 in the 1049 Case].
 6
         Objections. to Referral to Special Master (the “Special Master Objections”) [ECF
 No. 293 in the 1043 Case; ECF No. 200 in the 1049 Case].
 7
         Responses [ECF No. 308 in the 1043 Case; ECF No. 210 in the 1049 Case].
 8
         Reply [ECF No. 315 in 1043 Case; ECF No. 215 in the 1049 Case].
 9
         Order Appointing David Keyzer, Esq. (the “Keyser Appointment Order”) [ECF No. 74
 in 1043 Case; ECF No. 62 in the 1049 Case] ¶ 8.
 10
         Id. at ¶ 2.
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 “[t]he Court determines that the appointment of David Keyzer, Esq. (the ‘Special
 Master’) is appropriate under Rule 53(a)(1)(C) of the Federal Rules of Civil
 Procedure to address pretrial matters that cannot be effectively and timely
 addressed by an available district judge or magistrate judge in this district.” 11
 Additionally, the referral directs the Special Master to prepare a Report and
 Recommendation (“R&R”). 12 An R&R is not a final ruling. The district judge
 must still review the R&R and decide whether to adopt it. The parties may raise
 any objections to the R&R before the district judge rules. 13 Accordingly, the
 referral is appropriate, and it remains in place.

 B.     Comcast’s Motions to Dismiss Are Premature

       Next, the Court addresses Comcast’s concerns regarding efficiencies in
 deciding the pending motions. In addition to Entropic’s four pending motions,
 discussed above, Comcast moved to dismiss Entropic’s Second Amended
 Complaints. 14 In its objections, Comcast explains that its motions to dismiss
 challenge both of the operative Second Amended Complaints as well as Entropic’s
 proposed supplemental and amended pleadings. 15 Because the Court has not yet
 determined whether Entropic may amend or supplement its Second Amended
 Complaints, the Court concludes that Comcast’s challenges are premature.
 Accordingly, the Court DENIES without prejudice Comcast’s Motions to
 Dismiss the Second Amended Complaint. 16 Comcast may renew its motions, as
 may be appropriate after the operative pleadings have been established.

        IT IS SO ORDERED.




 11
        Id. at ¶ 1.
 12
        See generally Referral Order.
 13
        Keyser Appointment Order ¶ 8; Fed. R. Civ. P. 53(f)(4) (“The court must decide de
 novo all objections to conclusions of law made or recommended by a master.”).
 14
        Comcast’s Mot. to Dismiss Second Amended Complaint (the “Motion to Dismiss”)
 [ECF Nos. 249 & 256 (sealed) in the 1043 Case; ECF Nos. 175 & 180 (sealed) in the 1049 Case].
 15
        See Special Master Objections 2:17-21 [1043 Case] and 3:22-4:6 [1049 Case].
 16
        See generally Motion to Dismiss.
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